             Case 2:21-cv-00013-SWS Document 4 Filed 02/23/21 Page 1 of 2




L. Poe Leggette (Wyoming Bar No. 7-4652)
Mark S. Barron
Alexander K. Obrecht (Wyoming Bar No. 7-5542)
BAKER & HOSTETLER LLP
1801 California Street, Suite 4400
Denver, Colorado 80202
Telephone: 303.861.0600
Facsimile: 303.861.7805
pleggette@bakerlaw.com
mbarron@bakerlaw.com
aobrecht@bakerlaw.com

Attorneys for Petitioner Western Energy Alliance


                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF WYOMING

WESTERN ENERGY ALLIANCE,                      )
                                              )
               Petitioner,                    )
                                              )
       v.                                     )       Civil Case No. 0:21-cv-00013-SWS
                                              )
JOSEPH R. BIDEN, Jr., in his official         )
capacity as President of the United States, )
SCOTT DE LA VEGA, in his official             )
capacity as Acting Secretary of the Interior, )
and UNITED STATES BUREAU                      )
OF LAND MANAGEMENT,                           )
                                              )
               Respondents.                   )
____________________________________)

             AMENDED PETITION FOR REVIEW OF GOVERNMENT ACTION

         Petitioner Western Energy Alliance submits respectfully this petition for review of

government action under Local Civil Rule 83.6. On January 27, 2021, the President of the United

States directed the Secretary of the Interior to suspend indefinitely the federal oil and gas leasing

program. On or about February 12, 2021, the Secretary added notations on the Bureau of Land

Management’s website indicating that all onshore oil and gas lease sales scheduled for March or



4811-9360-6364.2
             Case 2:21-cv-00013-SWS Document 4 Filed 02/23/21 Page 2 of 2




April 2021 have been postponed. The suspension of the leasing program is an unsupported and

unnecessary action that is inconsistent with the Secretary’s statutory obligations. Because the

suspension is both arbitrary and capricious and contrary to law, the Court should find the

suspension invalid and set aside the challenged government action.

         This Court has federal-question jurisdiction under 28 U.S.C. § 1331. Respondent President

Biden is an officer of the United States; Respondent de la Vega is an officer of the United States; the

Bureau of Land Management is an entity of the United States Government. The United States has

waived its sovereign immunity under the APA, 5 U.S.C. § 702.

         Submitted respectfully this 23rd day of February, 2021,



                                               /s/ L. Poe Leggette
                                               L. Poe Leggette
                                               Mark S. Barron
                                               Alexander K. Obrecht
                                               BAKER & HOSTETLER LLP.
                                               1801 California Street, Suite 4400
                                               Denver, Colorado 80202
                                               Telephone: 303.801.2700
                                               Facsimile: 303.801.2777
                                               Telephone: 303.861.0600
                                               Facsimile: 303.861.7805
                                               pleggette@bakerlaw.com
                                               mbarron@bakerlaw.com
                                               aobrecht@bakerlaw.com


                                               Attorneys for Western Energy Alliance




                                                 -2-
4811-9360-6364.2
